                 Case 1:11-cr-00361-DHB-BKE Document 245 Filed 05/13/15 Page 1 of 1
                                                        to 18US C $ 3582(cX2)
                                                  Pursuanr
                                          Reducrion
                          Motionfor Senrence                                                                  PaBeI of 2 (Paee
AO24?{10/llJ OrderRegardins

                                                                                                                  u.s,           ;I COURT
                                                       UNITED STATESDISTzuCTCOURT
                                                                                                                        AI'      i4Dtv.
                                                                  for the
                                                                                                                 t0l[lftYt3 pfi t:36
                                                         SouthernDistrict of Georgia
                                                              AugustaDivision
                      United States of America

                                                                         CaseN o : l : 1l C R 0 0 3 6 l - 2
                      Do$ett Mandrell Williams
                                                                         USMNo: 17206-021
Date of Original Judgmenl:      June12,2012                              JamesS. Murrav
DateofPreviousAmendedJudgment:Not Applisable                             Defendant'sAttorney
(Lse Date of Lcnt Amended Judgment if Any)

                                                       ReductionPursuantto 18U.S.C.$ 3582(cXz)
                      Order RegardingMotion for Sentence

       Uponmotionof !tne defendant         l-l theDirectorof theBureauof PrisonslTlthe courtunderl8 U S.C.
                           in the term of imprisonment imposedbasedon a guidelinesentencing rangethathas
$ 3582(c)(2)for a reduction
iubsequentlybeenloweredandmaderetroactiveby       the United       Sentencing
                                                              States          Commission pursuant to 28 U.S.C
$ 99a(u),ani havingconsidered   suchmotion,andtakinginto accountthe   policy         set
                                                                             statement  forth at USSG  $ 18l 10and
the sentencingfactorssetforth in l8 U.S.C.$ 3553(a),to the extentthattheyareapplicable,
IT IS ORDEREDthatthemotionis:
     llNmO.             CnmffO         and the defendant'spreviously imposedsentenceof imprisonment /arreftecte!1in  judpent
                                                                                                                thetast
f                fl
                         usuetlof    96     months is reduced to 77 months


                                                       PartsI andll of Page2 whenmotionis grqnted)
                                               (Complete




Except as otherwiseprovided above, all provisions ofthe judgment dated
IT IS SO ORDERED.

Order Date:




EffectiveDate:
                                                                          DudleyH. Bowen,Jr.
                      N o v e m b e r1 , 2 0 1 5                          United StatesDistrict Judee
                       (if di/Ierent fron oder date)                                           Printed name and title
